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               BEFORE THE UNITED STATES JUDICIAL PANEL ON
                       MULTIDISTRICT LITIGATION


In re: COVID-19 Business Interruption
Insurance Coverage Litigation                          MDL No. _______________



                                SCHEDULE OF ACTIONS

    Case Caption                Court                 Civil Action    Judge
                                                      No.
1   Plaintiff(s): LH Dining     Eastern District of   2:20-cv-01869   District Judge
    L.L.C., doing business      Pennsylvania                          Timothy J.
    as River Twice                                                    Savage
    Restaurant

    Defendant(s): Admiral
    Indemnity Company

2   Plaintiff(s): Newchops      Eastern District of   2:20-cv-01949   District Judge
    Restaurant Comcast          Pennsylvania                          Timothy J.
    LLC, doing business as                                            Savage
    Chops

    Defendant(s): Admiral
    Indemnity Company

3   Plaintiff(s): Billy Goat    Northern District     1:20-cv-02068   Senior District
    Tavern I, Inc.; Billy       of Illinois                           Judge Harry D.
    Goat Tavern Midwest,                                              Leinenweber
    LLC; Billy Goat Tavern
    North II, Inc.; Billy
    Goat VI, Inc.; Billy
    Goat Inn, Inc.; Billy
    Goat Tavern West,
    LLC, all d/b/a Billy
    Goat Tavern, and all
    others similarly situated

    Defendant(s): Society
    Insurance

4   Plaintiff(s): Big Onion     Northern District     1:20-cv-02005   District Judge
    Tavern Group, LLC;          of Illinois                           Edmund E.
    Headquarters Beercade                                             Chang

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    LLC; Machine 1846
    LLC; The New 400
    LLC; Harper Theater
    LLC; Welcome Back
    LLC; Legacy
    Hospitality LLC;
    McBrides Aurora Inc.;
    McBride’s Pub Inc.;
    McBride’s on 52 Inc.;
    Homeslyce is Where the
    Heart Is LLC: 3458
    Norclark Restaurant
    LLC; Happy Camper
    Pizzeria LLC: 1913
    Northco LLC

    Defendant(s): Society
    Insurance, Inc.

5   Plaintiff(s): El Novillo   Southern District   1:20-cv-21525   District Judge
    Restaurant d/b/a DJJ       of Florida                          Ursula Ungaro
    Restaurant Corp. and El
    Novillo Restaurant d/b/a
    Triad Restaurant Corp.,
    on behalf of themselves
    and all others similarly
    situated,

    Defendant(s): Certain
    Underwriters at Lloyd’s
    London, and
    Underwriters at Lloyd’s
    London Known as
    Syndicate XLC 2003,
    AFB 2623, AFB 263,
    BRT 2987, BRT 2988,
    WRB 1967, and MSP
    318

6   Plaintiff(s): Gio       Southern District      1:20-cv-03107   District Judge
    Pizzeria & Bar          of New York                            Ronnie Abrams
    Hospitality, LLC and
    Gio Pizzeria Boca, LLC,
    individually and on
    behalf of all others
    similarly situated

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    Defendant(s): Certain
    Underwriters at Lloyd’s,
    London Subscribing to
    Policy Numbes ARP-
    74910-20 and ARP-
    75209-
    20

7   Plaintiff(s): Rising        Eastern District of   2:20-cv-00623   Magistrate Judge
    Dough, Inc. (d/b/a          Wisconsin                             William E.
    Madison Sourdough);                                               Duffin
    Willy McCoy’s of
    Albertville LLC; Willy
    McCoys of Andover
    LLC; Willy McCoys of
    Chaska LLC; Willy
    McCoys of Shakopee
    LLC; and Whiskey
    Jacks of Ramsey LLC
    (d/b/a Willy McCoy’s
    Ramsey), individually
    and on behalf of all
    others similarly situated

    Defendant(s): Society
    Insurance

8   Plaintiff(s): Bridal        Northern District     1:20-cv-00833   District Judge
    Expressions LLC,            of Ohio                               Solomon Oliver,
    individually                                                      Jr.
    and on behalf of all
    others similarly situated

    Defendant(s): Owners
    Insurance Company

9   Plaintiff(s): Caribe        Central District of   2:20-cv-03570   TBD
    Restaurant & Nightclub,     California –
    Inc., individually and on   Western Division
    behalf of all others
    similarly situated,
    individually and on
    behalf of
    all others similarly
    situated

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     Defendant(s): Topa
     Insurance Company

 10 Plaintiff(s): Dakota        District of Oregon   3:20-cv-00630     Chief Judge
    Ventures, LLC d/b/a                                                Marco A.
    Kokopelli Grill and                                                Hernandez
    Coyote BBQ Pub,
    individually and on
    behalf of
    all others similarly
    situated

     Defendant(s): Oregon
     Mutual Insurance
     Company

 11 Plaintiff(s): Christie Jo   Northern District    3:20-cv-00948     Senior District
    Berkseth-Rojas DDS,         of Texas                               Judge Sidney A.
    invidually and on behalf                                           Fitzwater
    of all others similarly
    situated

     Defendant(s): Aspen
     American Insurance
     Company


Dated: April 20, 2020                      Respectfully submitted,


                                           /s/ Richard M. Golomb
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                                           Kenneth J. Grunfeld, Esquire
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                         Attorneys for Movants-Plaintiffs LH Dining L.L.C.,
                         doing business as River Twice Restaurant and
                         Newchops Restaurant Comcast LLC, doing business
                         as Chops




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